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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                             No. 16-1547V
                                          (not to be published)

*************************
DEBORAH B. BROWN,           *                                    Special Master Corcoran
                            *
                            *
                Petitioner, *                                    Filed: October 11, 2017
                            *
          v.                *                                    Decision; Attorney’s Fees and Costs.
                            *
                            *
SECRETARY OF HEALTH AND     *
HUMAN SERVICES,             *
                            *
                Respondent. *
                            *
*************************

Nancy Routh Meyers, Ward Black Law, Greensboro, NC, for Petitioner.

Ilene Clair Albala, U. S. Dep’t of Justice, Washington, DC, for Respondent.

                  DECISION GRANTING ATTORNEY’S FEES AND COSTS 1

       On November 18, 2016, Deborah B. Brown filed a petition seeking compensation under
the National Vaccine Injury Compensation Program (the “Vaccine Program”), alleging that she
suffered from multiple sclerosis as a result of her November 12, 2014, influenza (“flu”) vaccine.2
However, on June 21, 2017 the parties filed a joint stipulation of dismissal (ECF No. 23), and the

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  Although this Decision has been formally designated “not to be published,” it will nevertheless be posted on the
Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 (2012). This
means the ruling will be available to anyone with access to the internet. As provided by 42 U.S.C. § 300aa-
12(d)(4)(B), however, the parties may object to the decision’s inclusion of certain kinds of confidential information.
Specifically, under Vaccine Rule 18(b), each party has fourteen days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged
or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available.
Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660,
100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine Act” or “the Act”).
Individual section references hereafter will be to § 300aa of the Act (but will omit that statutory prefix).
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special master to whom the case had been originally assigned issued an order concluding
proceedings thereafter on June 21, 2017 (ECF No. 24).

         Petitioner has now filed a motion requesting final attorney’s fees and costs, dated July 12,
2017. See Motion for Attorney’s Fees, dated July 12, 2017 (ECF No. 25) (“Fees App.”). Petitioner
requests reimbursement of attorney’s fees and costs in the total amount of $9,839.32 (representing
$9,343.00 in attorney’s fees, plus $496.32 in costs). Id. at 1. However, proper calculations result
in a total amount of $10,096.32.3 Respondent filed a document reacting to the fees request on July
20, 2017, indicating that he is satisfied that the statutory requirements for an award of attorney’s
fees and costs are met in this case, but deferring to my discretion the determination of the amount
to be awarded. ECF No. 28 at 2-3. Petitioner filed a reply on July 27, 2017 echoing the comments
of Respondent to defer to my discretion (ECF No. 29).

        Here, Petitioner requests $350 per hour for Ms. Meyers for work performed in 2016-2017.
Pet. Ex. 7 at 2. Petitioner also requests rates of $145 per hour for worked performed by paralegals.
Id. These requested rates are within the appropriate hourly rate ranges established for attorneys
with comparable experience and will therefore be awarded. See McCulloch v. Sec’y of Health &
Human Servs., No. 09-293V, 2015 WL 5634323 (Fed. Cl. Spec. Mstr. Sept. 1, 2015). The hourly
rates sought for present counsel are also consistent with my prior determinations and the decisions
of other special masters. See Intini v. Sec’y of Health & Human Servs., No. 15-304V, 2016 WL
8136089 (Fed. Cl. Spec. Mstr. Dec. 21, 2016); Smith v. Sec’y of Health & Human Servs., No. 16-
1282V, 2017 WL 1247866 (Fed. Cl. Spec. Mstr. Mar. 9, 2017). The hours expended on this matter
also appear to be reasonable, and Respondent did not identify any entries as objectionable. The
requested litigation costs also appear to be reasonable, and will be awarded.4

       I hereby GRANT Petitioner’s motion for attorney’s fees and costs. Accordingly, an award
of $10,096.32 should be made in the form of a check payable jointly to Petitioner and Petitioner’s
3
  Petitioner’s counsel, Ms. Nancy Meyers, worked a total of 17.9 hours at the rate of $350 per hour, which totals
$6,265.00 for attorney fees. The paralegal time entries show a total of 23 hours of paralegal work at the rate of $145
per hour, which totals $3,335.00. Proper calculations result in a total amount of $10,096.32 (representing $9,600.00
in attorney’s fees, plus $496.32 in costs).

4 Petitioner's application for fees and costs, although unopposed, relies upon a proposed hourly rate for Petitioner's
counsel, Nancy Routh Meyers, Esq., who practices in Greensboro, North Carolina. Petitioner purports that counsel
should be paid the hourly rate for a comparably-experienced attorney based upon the prevailing rate in counsel’s area
consistent with an Attorney Fee Survey schedule. The proposed rate amounts to near the in-forum rates set forth in
McCulloch v. Sec’y of Health & Human Servs., No. 09-293V, 2015 WL 5634323 (Fed. Cl. Spec. Mstr. Sept. 1, 2015).
Because Respondent does not maintain an objection to the amount of fees and costs sought by Petitioner, and because
I find that the total sum requested is reasonable under the circumstances, I do not reach the question of whether Ms.
Meyers is entitled to the forum rate under the test established by the Federal Circuit in Avera v. Sec’y of Health &
Human Servs., 515 F.3d 1343, 1349 (Fed. Cir. 2008), and this decision therefore does not constitute such a
determination.

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counsel, Nancy Routh Meyers, Esq. Payment of this amount represents all attorney’s fees and costs
available under 42 U.S.C. § 300aa-15(e). In the absence of a motion for review filed pursuant to
RCFC Appendix B, the clerk of the Court SHALL ENTER JUDGMENT in accordance with the
terms of this decision.5

         IT IS SO ORDERED.
                                                                      /s/ Brian H. Corcoran
                                                                         Brian H. Corcoran
                                                                         Special Master




5
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment if (jointly or separately) they file notices
renouncing their right to seek review.
                                                         3
